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Sam uel D. Leggett, et al. v. Duke Energy Corp., et al., W.D. Telmessee, C.A. No. 2:05-21,77

BEFORE W]\I. TERRELL HOD GES, CHAIRMAN, JOHNF. KEENAN, D.-
LOWELL JENSEN, .I. FREDERICK MOTZ,* ROBERT L. MILLER,.JR.,

KATIE;'I§YN H. VRATIL AND DA VID R. HANSEN, JUDGES OF THE
PAN _

TRANSFER oerER 1 "

§ _
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Before the Panel is a motion in one Westem District of Tennessee action (Leggqt) brought,
pursuant to 28 U.S.C. § 1407', by six of the action’s defendants: Reliant Energy Services, lnc.,
Dynegy Marketing & Trade, The Williams Power Co., lnc., CMS Marketing Se`rvices and Trading
Co., Duke Energy Trading and Marketing, LLC\, and AEP Energy Services, Inc. Movants ask the
Panel to transfer Leggett to the District of Nevada for inclusion in the MDL-1566 proceedings
pending there before ludge Philip M. Pro. Plaintiffs in Leggetr oppose transfer.

On the basis of the papers filed and hearing session held, the Panel Ends that Leggett
involves common questions of fact With actions in this litigation previously transferred to the District
of Nevada, and that transfer of the action to that district for inclusion in the coordinated or
consolidated pretrial proceedings occurring there will serve the convenience of the parties and
Witnesses and promote the just and efficient conduct of the litigation. The Panel is persuaded that
transfer of the action is appropriate for reasons expressed by the Panel in its original order directing
centralization in this docket ln that order, the Panel held that the District of Nevada was a proper
Section 1407 forum for actions brought by persons injured by multiple common defendants’ alleged
conspiracy to increase the price of natural gas sold in California during 2000 and 2001. See In re
Western States Whole.s'ale Natural Gas Antitrust Litz'gation, 290 F.Supp.Zd. 1376 (J.P.M.L. 2003).

'Ihe Leggett plaintiffs have not disputed movants’ assertion that they are claiming to have
been injured by the same alleged conduct and conspiracy that is at the root of the MDL-1566 actions
Rather, plaintiffs’ opposition to transfer is predicated solely on their contention that the Panel should
provisionally deny the Section 1407 transfer motion in order to permit the Tennessee court to rule
on plaintiffs’ pending motion to remand Leggett to state court. Such a motion, however, if not
resolved in the transferor court by the time of Section 1407 transfer, can be presented to and decided
by the transferee judge. See, e.g., In re I'vy, 901 F.Zd 7 (an Cir. 1990); In re Prudential Insurance
Company of Amerc`ca Sales Practices Litigation, 170 F.Supp.2d 1’§4|6, 1347-48 (J.P.M.L. 2001).

EDBY

 

    

'.ludge Motz took no part in the disposition of this matter.

 

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_2_ ,

I'l" IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, this action is transferred
to the District ofNevada and, with the consent of that court, assigned to the HonorablePhilip M. Pro
for inclusion in the coordinated or consolidated pretrial proceedings occurring there m tins docket

ron THE PANEL: F '

WMALMW

Wm. 'l`errell Hodges _.

Chairman» -/i~
1 hereby attest and certify on £_¢_ijLO§ '
that the foregoing document is a u|l, true _ `_

 

and correct copy of the original on file in my
legal custody.

  
  

CLERK, U.S. DlSTR|CT COURT\
D|STR|CT OF NEVADA

B)/ Deputy Clerk

Case 2:05-oV-02177-S -STA Dooument 57 Filed 08/2§;6§ PageSoiQ Page|D 70

UN ED STATES OF AMERI
.]'UDICIAL PANEL ON MULTIDISTRICT LITIGATION AE, PFCENE
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n httpdiwww.jpml.uscourts.gov
August 11, 2005
Lance S. Wilson, Clerk CV_S.()§-lOZl-PN[P-PAL '
Lloyd D. George U.S. Courthouse t - _ //
333 Las Vegas Boulevard, South
Las Vegas, NV 89101 _ , .
Re: MDL-1566 -- In re Western States Wholesale Natural Gas Antin'ust Litigation

` Samuel D. Leggett, et al. v. Duke Energy Corp., et al., W.D. Tennessee, C.A. No. 2:05-2177

Dear Mr. Wilson:

I am enclosing a certified copy and one additional copy of a transfer order filed today by the Panel in

the above-captioned matter. The order is directed to you for flling.

The Panel's governing statute, 28 U.S.C. §1407, requires that the transferee clerk "...transmit a

certified copy of the Panel's order to transfer to the clerk of the district court from which the action is being
transferred." _

A list of involved counsel is attached
Very truly,

Michael J . eck

  
    
 

 

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,/ Deputy Clerk
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Enclosures/Attachment

CCZ

/""“-
Transferee Judge: Judgc Philip M. Pro 02 \ /-(

Transferor Judge: Judge Sarnuel H. Mays, Jr.
Transferor Clerk: Robert R. Di Trolio ` JPML Form 29

, Case 2:05-ov-02177- -STA Dooument 57 Filed 08/2_2/0`5 Page4oi9 Page|D 71

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August 19, 2005

Thomas M. Gould, Clerk of the Court
Western District of Tennessee

Room 242, Federal Building

167 North Main Street

Memphis, TN 38103

Page 5 of 9 PagelD 72

C`YNTHIA K. JENan
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JAKE HERB
CHIEF DEPUTY, RENO

IN RE: MDL 1566 WESTERN STATES WHOLESALE NATURAL GAS ANTITRUST

LITIGATION

Dear Clerk:

Enclosed is a certified copy (or copies) of an order of the Judicial Panel on Multidistrict

Litigation directing the transfer of the below referenced civil action(s) to this district under 28 U.S.C.

Section 1407.
your file, please refer to our civil action number.

TITLE OF CASE

Sarnuel D. Leggett, et al v.
2:05-2177-SHM-sta

Duke Engery Corp., et al

Your Case Number

Please send us your file along with a certified copy of your docket entries. When you send

Our Case Number

CV-S-OS-lOZl-PMP(PAL)

Enclosure:

cc: Michael Beck, Clerk of the Panel
(See attorney service list)

Sincerely,

LANCE S. WILSON, Clerk
US DISTRICT COURT

 

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Notice of Distribution

 

August 23, 2005 to the parties listed.

This notice confirms a copy of the document docketed as number 57 in
case 2:05-CV-02177 was distributed by faX, mail, or direct printing on

 

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Case 2:O5-cV-02177-SHI\/|-STA Document 57 Filed 08/22/05 Page 7 of 9 Page|D 74

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Case 2:O5-cV-02177-SHI\/|-STA Document 57 Filed 08/22/05 Page 9 of 9 Page|D 76

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Honorable Samuel Mays
US DISTRICT COURT

